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                             EXHIBIT 51
    Declaration of Ari Bargil in Support of Plaintiffs’ Motion for Summary Judgment
                  on Liability and Incorporated Memorandum of Law
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From: ARTHUR J FREMER
Sent: Friday, May 15, 2015 8:44 AM
To: KGardner@pascosheriff.org;DFenstemacher@pascosheriff.org
Subject: Fw: ILP Command Staff Power Point and notes
Attachments: 14 MAY 15 (Draft) (Capt) v1.pdf; D1 Mini AIM Notes 051315.pdf; D2 Mini AIM Notes
051315.pdf; D3 Mini AIM Notes 051315.pdf; All District Top-5 (12MAY15).pdf; TOP-5 History (Spreadsheet)
(14MAY15)v1.xlsx



For review and dissemination. See the attachments below.




          Thank You,

          Lt. Art Fremer 712
          Pasco Sheriff's Office
          Law Enforcement Bureau
          District 3 Patrol
          Office: (727) 376-3845
          Cell: (727) 277-7074
          Email afremer@pascosheriff.org

----- Forwarded by Art Fremer/PSO on 05/15/2015 08:42 AM -----

From: James Mallo/PSO
To: Art Fremer/PSO@PSO, wdavis@pascosheriff.org, jcollier@pascosheriff.org, eseltzer@pascosheriff.org, Michael Jones/PSO@PSO, Kenneth
Kilian/PSO@PSO, James Law/PSO@PSO
Cc: solds@pascosheriff.org, Michael Jenkins/PSO@PSO, Kenneth Gregory/PSO@PSO, Jeffrey Peake/PSO@PSO, James Steffens/PSO@PSO, Christopher
Beaman/PSO@PSO, John Corbin/PSO@PSO, Karen Lueders/PSO@PSO
Date: 05/15/2015 08:06 AM
Subject: ILP Command Staff Power Point and notes




All:

Each week it will be all of our responsibility to take some time and review the following information. This will improve our
safety, intelligence gathering, intelligence sharing and further embrace the ILP philosophy. Everyone in your command
impacts crime in our county every day and it is our duty to make sure that we provide all investigative members as much
information and resources as possible.

Please distribute this to Law Enforcement members (Patrol/SRO), Child Protective Investigators and the CPI analyst. This
is being distributed for situational awareness and officer/investigator safety. On the Patrol level we need to be engaged
with attempting to locate each of the Top 5. Our successful contacts with each of the top five should be documented in a
report or FIR. The successful contacts should also be added to the weekly report. Each lieutenant needs to be able to
provide a weekly synopsis of all attempts to contact the Top 5 as well. I will be getting with Captain Jenkins to identify in
what format he would like the information with regard to the attempts to contact each person on the Top 5 list.

With regard to CPI, each week I would like our analyst to identify if we have any (new or previously obtained) information
on any of the people listed in the Top 5 (for all three districts). We are looking for any open/closed cases and who we
know they (each member of the Top 5 ) associate with. We should also be able to identify if we have home addresses,
personal information, and schools in which their family members (children or siblings) may attend. This information may
be very helpful to our deputies and detectives working unrelated cases and should be shared with ILP in order to update
all parts of the agency.

The CPIs themselves should review this information weekly in order to verify if they are holding a case that involves one
of the Top 5 (actually Top 15). This will allow for situational awareness and improve the CPIs level of safety when dealing
                                                                                           Exhibit 51 - Page 1 of 2
                                                                                                           Defendant25345
   Case 8:21-cv-00555-SDM-CPT Document 140-51 Filed 06/06/22 Page 3 of 3 PageID 11227
with an individual on the Top 5 lists. When we obtain a complaint on someone on the Top 5 list the CPIs can also help by
reaching out to the sergeant of CID in each of the districts and asking what they can do to obtain information to assist in
our (Patrol's) current surveillance of the individual. For example, if we suspect that the individual is committing day time
home burglaries, in which, specific items were taken, the CPI should be more aware while inside the residence and report
what they see back to the sergeant. We will provide more training on this in the coming weeks.

The SROs should also review the attachments that come out weekly in order to identify if anyone in the Top 5, or any of
the suspects mentioned in the slides, go to the school or have children that go to the school that they are assigned. The
SROs should then obtain as much information as possible with regard to current address or any other personal
information that might assist the deputies, detectives or CPIs. The SRO should then reach out to ILP and the appropriate
supervisor/detective working the case. By also providing ILP with any new information it will allow for the information to be
distributed to the entire agency for review. We will also begin to track the information that the SROs are able to provide by
including the information in an email and a TIP (cut and paste). Also, make sure that we (the SROs) are viewing the
caught on camera videos (weekly) that were captured in areas/subdivisions in which their school pulls from. If there is
footage of thefts/burglaries or even more serious crimes and the individuals are young (below 30) we should make
attempts to share the link to the caught on camera with school administrators, teachers, and SRPs in order to see if they
can assist with identifying the perpetrators. By making such attempts to identify I am sure that throughout the year we will
have success stories that will bring the SROs, detectives and school personnel closer and identify as a strong team in
making our community a safer place. We will provide more direction in the coming weeks. SRO sergeants please keep
this information handy in order to pass it on to our new SROs.

The information within the attachments are intended for investigative members only and should not be shared, transmitted
or forwarded, in any format outside the Pasco Sheriff's Office unless specifically requested by another law enforcement
agency. If you have any questions let me know.

Thank you for what you do for our community each and every day!

James



(See attached file: 14 MAY 15 (Draft) (Capt) v1.pdf)

(See attached file: D1 Mini AIM Notes 051315.pdf)            (See attached file: D2 Mini AIM Notes
051315.pdf)             (See attached file: D3 Mini AIM Notes 051315.pdf)


(See attached file: All District Top-5 (12MAY15).pdf)                           (See attached file: TOP-5 History (Spreadsheet)
(14MAY15)v1.xlsx)




                                                          James Mallo, Captain
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                                                                                            Exhibit 51 - Page 2 of 2
                                                                                                            Defendant25346
